The following is substantially the case agreed and transmitted to this Court as part of the transcript of the record.
The plaintiff, assignee in bankruptcy of Christy Rhyne, one of the defendants, seeks by this action to recover the possession of a tract of land in Gaston County, which the other defendant, Sloan, had purchased of Rhyne, in November, 1867. On the trial below, judgment by default *Page 385 
was taken against Christy Rhyne and Harry Rhyne, another defendant, who were in possession of the land, for want of an answer, and the trial was had as to defendant, Sloan.
In his complaint, the plaintiff charges that the sale to Sloan was fraudulent and void, as being in direct violation of the "Act to establish a uniform system of bankruptcy throughout the United States, "and the question involved in this charge, is the principal one decided in this Court.
The defendant, in his answer, positively denies any fraud or fraudulent intent in the purchase of the land from Christy Rhyne, and alleges in detail the indebtedness of Rhyne to him, and the (558) consideration given in the purchase of the land in dispute.
There was much evidence introduced by both parties. On the part of the plaintiff to show the indebtedness of Rhyne about the time the deed was given, the involuntary bankruptcy of Rhyne, the appointment of plaintiff, as assignee, and the knowledge of the defendant Sloan, of the embarrassment and insolvent condition of Rhyne's estate. And for the defendant, in denial and explanation of the testimony offered by the plaintiff. So far as is material, the evidence is set out in the opinion of the Court.
The deed from Christy Rhyne to Sloan bears date 27the November, 1867. The creditors' petition declaring Rhyne a bankrupt was filed 18 March, 1868, charging the sale of the land as the act of bankruptcy relied upon. The suit originally commenced in Gaston was removed on affidavit to Lincoln.
After the evidence closed on the trial in the Superior Court, the defendant, in writing, prayed the following instructions:
1. That plaintiff acquired no title under the assignment in bankruptcy, as the copy of the record from the District Court, on its face, shows that the Court had no jurisdiction to declare Christy Rhyne a bankrupt.
2. That if said adjudication had been covinously and fraudulently obtained, it was void as to the defendant.
3. Before plaintiff can recover, he must satisfy the jury that when defendant, Sloan, received his deed from Rhyne, a fraud upon the bankrupt act was intended by Rhyne, and that Sloan had reasonable cause to believe that such fraud was intended, and also that said Rhyne was insolvent.
His Honor charged the jury:
"In this case it is the opinion of the Court, that the petition of Craig and Bell in the Bankruptcy Court (praying that Christy Rhyne be declared a bankrupt) was adjudicated in that Court, and this (559) Court cannot go behind the record. *Page 386 
"In this case the plaintiff alleges fraud in the transaction between the defendant, Sloan, and Christy Rhyne as to the transfer of the land by Rhyne to Sloan. Fraud is a question of law, and defined to be, `when an act is done by concealment or otherwise, prejudicial to the rights or interests of a party and without his knowledge or consent.' Wherefore, gentlemen of the jury, you being the judges of the facts, if you find that fraud has been committed by the defendant, you will find for the plaintiff, but if you find that no fraud has been committed, you will find for the defendant.
"According to the bankrupt law, one is considered a bankrupt, who is unable to pay his debts. You are to take into consideration the knowledge of the defendant, Sloan, as to the condition of Rhyne at the time the transfer was made. Whether he was insolvent or not? Did the defendant know that Rhyne was insolvent? Did he have reasonable cause to believe that Rhyne was insolvent at the time the transfer was made, or did he have reasonable cause to believe that the conveyance was in fraud of the bankrupt act, and intended to defraud other creditors? Intent means an actual design in the mind, and must be found as a question of fact. If you should find these facts to be true, you will find for the plaintiff; if not true, for the defendant.
"Persons have the right to secure their debts, or to prefer creditors, providing they do so according to law, not fraudulently. Every one is bound to know the law. Ignorance is no excuse for an unlawful or fraudulent act."
The jury returned a verdict for the plaintiff. Motion for a new trial; motion refused. Judgment and appeal by defendant.
The plaintiff claims the land in controversy as the assignee of Christy Rhyne, adjudicated a bankrupt on 28 August, 1868.
1. Defendant claims that plaintiff is not lawfully assignee, and contends that the adjudication is void, because it appears from the petition of record in the bankrupt court that the principal of the petitioning creditors' debt is less than $250, although if the interest up to the date of the petition be added, it will exceed that sum. In England, as in the United States, the law requires that the petitioning creditors' debt shall be equal to at least a certain sum, and it appears from the authorities cited by the counsel for the defendant that the courts in England do permit adjudication of bankruptcy to be collaterally avoided by proof that the petitioning creditors' debt was less than the sum; and also, that in arriving at that sum the interest is not added to the *Page 387 
principal, at least unless the note or other writing bears interest on its face. Eden Bank, 42; Cameron v. Smith, 2 B.  A., 305. This, it would seem, can only be done on the theory that the petitioning creditors' debt must be of the prescribed amount in order to give the Court jurisdiction; for it is well settled that when a Court has jurisdiction of the subject matter, its judgments will not be allowed to be collaterally impeached or questioned in any other Court. How the English law may be, or on what principles their courts proceed in such cases, it is unnecessary for us to inquire. In the United States, Congress has a constitutional right to enact a uniform bankrupt law, and it has done so and given a jurisdiction to the District Courts of the United States under certain circumstances to adjudicate persons bankrupt.
The act does not in terms declare that those courts shall have jurisdiction only when the petitioning creditors' debt amounts to $250 of principal money. These courts are competent to put the construction on the statute that the debt is sufficient if the principal and interest added together amount to that sum. And it would seem (561) like want only seeking a conflict, if the State Court by a different construction, should deny the jurisdiction of the United States Courts in such a case. We may admit that if a want of jurisdiction in any case plainly appeared on the record of a bankrupt court, the State Courts would be justified in holding the judgment void on that account. But that is not this case; and without undertaking ourselves to put any construction on the bankrupt act in question as to the petitioning creditors' debt, we accept that which the bankrupt court has acted on in declaring Rhyne a bankrupt. We were not referred to any decision on this question made since our bankrupt act, and we know of none; but we have reached our conclusion on general principles only.
The jurisdiction of the bankrupt court being conceded, its adjudication of bankruptcy is a judgment in rem, fixing the status of the bankrupt, which, upon that point, is binding on the world, and can only be impeached for fraud in obtaining it. See Duchess of Kingston's case, 2 Smith L. C., 438 to 447, where the effect of judgments is discussed at great length, and with eminent learning.
2. The defendant then claims the land under a conveyance from Rhyne and his wife to him, dated on 27 November, 1867, and professing to be made for a consideration of $3,500. The plaintiff contends that this deed was in fraud of the bankrupt act, (sec. 39,) and therefore void; that having been made either "with intent to delay, defraud or hinder his creditors," or by one who was a bankrupt or insolvent, or in contemplation of bankruptcy or insolvency, with intent to give a preference to one or more of his creditors, and to defeat or delay the operation of that law; and a petition to adjudicate the said Rhyne a *Page 388 
bankrupt having been brought within six months after such conveyance, it was void, and he, as assignee, could recover the property conveyed. Bankrupt Act, 2 March 1867 — 5 — 39.
(562)    By the law of North Carolina prior to the enactment of the bankrupt act, every conveyance made with intent to delay, defraud or hinder creditors, was void as to them. It was held, however, that an insolvent had a right to prefer one or several among his creditors, although the effect was to hinder and delay others. The preference being allowed by law, and in favor of a just debt, did not in a legal sense defraud the other creditors. By the bankrupt act, however, this right of preference among creditors was taken away from and insolvent, or from one in contemplation of bankruptcy or insolvency, and the preference itself made void; provided a petition should be filed within six months thereafter by a creditor, etc., to procure an adjudication of bankruptcy against the insolvent debtor. The State Courts are bound to hold that fraudulent and void, which the Act declares to be so under the conditions which it describes. But every Court in which a controversy as to the title to the property alleged to have been fraudulently conveyed, may arise, has jurisdiction to inquire whether the conveyance was in fact and in law fraudulent; that is, whether the conditions prescribed by the act to make it fraudulent, existed. If a petition was not filed within six months after the alleged fraudulent conveyance, it cannot be held void, as being an unlawful preference.
It would not be so held in the bankrupt courts, and of course not in the State Courts. And it is open in the State Courts, to inquire whether the grantor was bankrupt or insolvent; whether the conveyance was made in contemplation of bankruptcy or insolvency, and whether with the intent unlawfully to prefer one or several creditors.
Although the adjudication of bankruptcy is a judgment in rem. and as such conclusive on all the world, and although in arriving at that judgment, the bankrupt court declares the conveyance alleged as the act of bankruptcy to be a preference among creditors, and therefore, fraudulent within the meaning of the act; yet such declaration (563)  is no part of the judgment, but is merely incidental to it, and so far from being conclusive on strangers that the conveyance was fraudulent, is not even evidence against them for that purpose. It is merely "res inter alias acta quae nemine nocere debet." No one not a party to the record is affected by it, except so far as it is inrem. (2 Smith's L. C. ub. sup. Barrs v. Jackson, 1 You.  Coll. 585, S.C. 1 Phil. 582. Of the American cases see King v. Chase, 15 N. H., 9.
In addition to what is said in these cases, there is reason why the effect of the judgment in rem. should be more closely confined to the *Page 389 
precise point adjudged, viz.: That so far as it is in rem. and fixes thestatus of the person or property affected, it binds all the world; whereas, a judgment in personam binds only parties and privies who have once had an opportunity of contesting it.
There was evidence in this case tending to show that the conveyance in question was fraudulent within the Act, and the jury found that it was. We are now prepared to consider the exceptions to the Judge's charge.
There are several propositions of law in the instructions of his Honor which are obviously erroneous. For example, his definition of fraud: "Fraud is a question of law, and defined to be, where an act is done by concealment or otherwise, prejudicial to the rights or interest of a party, and without his knowledge or consent." And so, his definition of a bankrupt; "according to the bankrupt law, one is considered a bankrupt who is unable to pay his debts."
But upon a consideration of the instructions as a whole, we think they call the attention of the jury as fairly as could be expected under the circumstances, to the material questions on which they were to pass. He says to them, "You are to take into consideration the knowledge of the defendant Sloan as to the condition of Rhyne at the time when the transfer was made. Whether he was insolvent or not? Did the defendant know that Rhyne was insolvent? Did he have (564) any reasonable cause to believe that Rhyne was insolvent at the time the transfer was made, or did he have reasonable cause to believe that the conveyance was in fraud of the bankrupt act, and intended to defraud other creditors? `Intend,' means to have an actual design in the mind, and must be found as a question of fact. If you should find these facts to be true, you will find for the plaintiff; if not true, for the defendant. Persons have the right to secure their debts, or prefer creditors, provided they do so according to law, not fraudulently. Every one is bound to know the law; ignorance is no excuse for an unlawful or fraudulent act."
If the defendant had desired more particular instructions upon any point omitted by his Honor, he might have asked for them.
PER CURIAM.                                    No Error.
Cited: Hislop v. Hoover, ante, 146; Dills v. Hampton, 92 N.C. 571;Pearson v. Simmons, 98 N.C. 283; Williams v. Scott, 122 N.C. 549;Westbrook v. Wilson, 135 N.C. 402. *Page 390 
[EDITORS' NOTE:  THIS PAGE IS BLANK.] *Page 391 
1st. The counsel for the appellant shall have the right to address the Court for not over two hours, which shall include both his opening argument and reply. The time may be divided between them at his discretion.
2d. The counsel for the appellee shall be allowed not over one hour.
3d. The time occupied in reading so much of the record as may be necessary, shall not be counted under the above rules.
4th. The time for argument allowed above may be extended by the Court in proper cases, provided the extension be allowed before the argument begins.
5th. Any number of counsel will be heard on either side within the limits of time above described, but it is required that when several counsel speak, each shall confine himself to a distinct part or parts of the argument so as to avoid tedious repetition.
6th. Every appellant, at the time of settling the case, or if there be no case within ten days after the appeal, shall file in the Clerk's office, his exceptions to the judgment or proceedings briefly stated and numbered. And in civil (as distinct from criminal) actions no other exceptions than those so filed and made part of the record will be considered in the court.
7th. No case will be heard until there shall be put in the margin of the record brief references to such parts of the text as it is necessary to consider in a decision of the case.
8th. The costs of copies of unnecessary and irrelevant testimony or of other irrelevant matter, not needed to explain the exceptions, shall in all cases be charged to the appellant, unless it appears expressly that they were sent up by the appellee, in which case the costs will be taxed on him.
9th. In every case the appellant before the hearing, shall file with the Clerk one or more written or printed briefs, in which shall be set forth the exceptions taken below. Under each shall be briefly stated so much of the pleadings, case agreed, or other finding of facts, as will make it intelligible. Also if several acts of Assembly are replied on, a citation of them by date and chapter. Also the authorities in law principally relied on. This, however, shall not forbid the citation of others on the *Page 392 
oral argument. If a statement of the record or any part of it be necessary to an understanding of the case, it shall be made briefly, and the page of the record containing it referred to.
10th. If the above brief shall be printed, eight copies shall be delivered to the clerk, viz.: One for each of the Justices, one for the Clerk to file with the record, one for the Reporter and one for the opposite counsel.
11th. Whenever printed briefs shall be filed, and the matter in controversy equals or exceeds $300, the costs of such briefs shall be taxed in the costs in favor of the party filing them, if he be successful, at the rate of five cents for each printed page of the usual size of the reports of this Court.
12th. The appellee may in like manner file such briefs and shall under like circumstances be entitled to have the costs thereof taxed for him. R. M. PEARSON, C. J.
 *Page 1 